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      In the United States Court of Federal Claims
                                    No. 14-992C
                             (Filed December 12, 2014)
                             NOT FOR PUBLICATION

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GCC TECHNOLOGIES, LLC,            *
                                  *
           Plaintiff,             *
                                  *
      v.                          *
                                  *
THE UNITED STATES,                *
                                  *
           Defendant,             *
                                  *
      and                         *
                                  *
MONTEREY CONSULTANTS,             *
INC.,                             *
                                  *
           Defendant-intervenor.  *
                                  *
                                  *
* * * * * * * * * * * * * * * * * *

                                      ORDER

       Defendant’s unopposed motion to dismiss this case is GRANTED under Rule
12(b)(1) of the Rules of the United States Court of Federal Claims. The
government’s announced corrective action, rescinding the award challenged by this
bid protest, makes the matter moot. See Technical Innovation, Inc. v. United States,
93 Fed. Cl. 276, 279 (2010). The Clerk’s office is directed to close the case, and no
costs are awarded. The motions by defendant and defendant-intervenor to stay
their obligation to file responses to plaintiff’s motion for judgment and cross-
motions are rendered moot by the dismissal of the case.

IT IS SO ORDERED.

                                       s/ Victor J. Wolski
                                       VICTOR J. WOLSKI
                                       Judge
